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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SOLAS OLED LTD.,                                    §
                                                     §
                Plaintiff,                           §
                                                     §
 v.                                                  §   CIVIL ACTION NO. 2:19-CV-00152-JRG
                                                     §
 SAMSUNG DISPLAY CO., LTD.,                          §
 SAMSUNG ELECTRONICS CO., LTD.,                      §
 SAMSUNG ELECTRONICS AMERICA,                        §
 INC.,                                               §
                                                     §
                Defendants.                          §
                                                     §

                                               ORDER

       The Court issues this order in response to Plaintiff Solas OLED Ltd. (“Solas”) and

Defendants Samsung Display Co., Ltd., Samsung Electronics Co., Ltd., and Samsung Electronics

America, Inc.’s (collectively, “Samsung”) (together with Plaintiff, the “Parties”) briefing (Dkt.

Nos. 282, 283) and statements during the October 9, 2020 telephonic status conference regarding

the setting of a trial date in the above-captioned case. Said briefing and status conference were

conducted after the Court previously ordered the trial continued, to be reset by subsequent order.

(Dkt. No. 278). Having considered the schedules of counsel for the Parties, potential trial witnesses

for the Parties, travel schedules, and the current global health situation, the Court is of the opinion

that the above-captioned case should be and hereby is specially set as first for trial in the first week

of December, with jury selection to begin on December 4, 2020.

       The Court notes that, during the October 9, 2020 telephonic status conference, counsel for

Solas agreed that Solas would not call Samsung’s alternate corporate representative as an adverse

witness during trial, and such agreement will be enforced by the Court.
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       Accordingly, it is hereby ORDERED that the above-captioned case is specially set as first

for trial on December 4, 2020.

       So Ordered this
       Oct 15, 2020




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